                         United States District Court
                       Western District of North Carolina
                              Charlotte Division

      Lance Richardson Pagan,                        JUDGMENT IN CASE

            Petitioner(s),                            3:20-cv-00315-RJC
                                                   3:13-cr-00258-RJC-DSC-8
                 vs.

                USA,

           Respondent(s).



 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s September 25, 2020 Order.

                                               September 25, 2020




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